
ORDER
PER CURIAM.
By order dated April 17, 2006, the district court denied the motion of Willie *753Brown, Jr. for a preliminary injunction enjoining the defendants from carrying out his execution which is scheduled for Friday, April 21, 2006. Brown has filed a notice of appeal to this Court from that order, a motion for preliminary injunction and a brief in support. Appellees filed a brief opposing appellant’s motion for preliminary injunction.
The Court affirms the district court’s denial of a preliminary injunction and directs the clerk to issue the mandate forthwith.
Entered at the direction of Judge Luttig with the concurrence of Judge Traxler. Judge Michael wrote the attached dissent.
